Case 2:18-cv-09873-CCC Document 36-1 Filed 07/19/22 Page 1 of 7 PageID: 2565



MARK MUSELLA
BERGEN COUNTY PROSECUTOR
ATTORNEY FOR RESPONDENTS
BY: IAN C. KENNEDY - ATTY NUMBER 020682011
     ASSISTANT PROSECUTOR
     BERGEN COUNTY PROSECUTOR'S OFFICE
TWO BERGEN COUNTY PLAZA
HACKENSACK, NEW JERSEY 07601
                                   UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                   DOCKET NO. 18-9873 (CCC)


MARTIN L. BASKERVILLE, JR.,

     Petitioner,                             CIVIL ACTION

v.                                      AFFIDAVIT IN SUPPORT OF
                                        MOTION TO DISMISS PETITION
GEORGE ROBINSON, et al.,                FOR WRIT OF HABEAS CORPUS
                                        AS MOOT
     Respondents.


STATE OF NEW JERSEY
                            ss
COUNTY OF BERGEN

             IAN C. KENNEDY, of full age, being duly sworn according

to law upon his oath deposes and says:

        1.     I am an assistant prosecutor in the Bergen County

Prosecutor's Office.       I am assigned to represent respondents in

the above-captioned matter.

        2.     Petitioner's amended petition for writ of habeas

corpus is currently pending before Your Honor.          (ECF No. 6).

        3.     On December 5, 2018, respondents filed a motion to

dismiss the amended petition as time barred and an improperly

filed second habeas petition.        (ECF No. 13).
Case 2:18-cv-09873-CCC Document 36-1 Filed 07/19/22 Page 2 of 7 PageID: 2566



     4.     On March 26, 2019, respondents notified this Court

that petitioner was released from state custody on March 5, 2019

without any parole conditions.       (ECF No. 22).

     5.     On September 25, 2019, this Court denied the motion in

a written opinion without prejudice and ordered respondents to

file a full and complete answer.       (ECF No. 24).

     6.     On November 22, 2019, respondents filed an answer to

the petition.    (ECF No. 28).

     7.     On March 30, 2022, respondents filed a letter with

this Court indicating that petitioner's counsel and I

believed that petitioner had recently died.          (ECF No. 34).    The

letter informed the Court that petitioner's counsel intended to

confirm petitioner's death with a relative or other appropriate

individual.

     8.     In my communication with petitioner's counsel

immediately prior to filing the letter, counsel indicated that

he had "heard" that petitioner died.        He further indicated that

he wanted to confirm with a relative or other appropriate

individual.

     9.     Since filing the letter on March 30, 2022, I have

followed up with petitioner's counsel in various ways.           I have

left messages with his administrative assistant and on his cell

phone.    I have also sent him emails.
Case 2:18-cv-09873-CCC Document 36-1 Filed 07/19/22 Page 3 of 7 PageID: 2567



        10.   On July 13, 2022, this Court ordered that "the parties

shall update the Court regarding the status of Petitioner, and,

if he is deceased, shall advise the Court whether they intend to

stipulate to dismissal. " (ECF No. 35) .

        11.   Following receipt of this order, on July 13, 2022, I

again left a message with counsel's administrative assistant,

called his cell phone, and sent him an email.

        12.   Petitioner's counsel has not replied to any of my

communications since March 30, 2022.

        13.   A simple Google search reveals that a publicly­

available Facebook page titled the "The Ultimate Alibi, "

apparently created by a relative to publicize petitioner's case,

announced that petitioner died on March 4, 2022.          (See Exhibits

A and B, true and accurate redacted printouts.)

     14.      Therefore, based on the foregoing, it is clear that

petitioner is deceased.

     15.      I state under penalty of perjury that the foregoing

facts are true and correct to the bes


                                  Ian
                                  Assistant Prosecutor
                                  Bergen County Prosecutor's Office
Sworn�                  ed
befone m                ay
of


An At
Case 2:18-cv-09873-CCC Document 36-1 Filed 07/19/22 Page 4 of 7 PageID: 2568




                           EXHIBIT A
7/19/22, 2:28 Case
              PM                                         Facebook
                     2:18-cv-09873-CCC Document 36-1 Filed  07/19/22 Page 5 of 7 PageID: 2569


                                                                                                         ■ ■ ■




    �.,... The Ultimate Alibi
           March 16 · 0
                                                                                                                     •••

    Please share with family and friends. I know some may not be on Facebook so be sure to send them the
    information.


    004                                                                                              3 Comments 3 Shares

                     ■ Like                                    ■ Comment                             ■ Share
                                                                                                         Most relevant   ■


             17w



                        See more of The Ultimate Alibi on Facebook
                                          login                        or           Create new account

ht1ps://www.facebook.comltheu ltimatealibi/photos/a.788021291540009/1645934232415373/                                        1/1
Case 2:18-cv-09873-CCC Document 36-1 Filed 07/19/22 Page 6 of 7 PageID: 2570




                           EXHIBIT B
7/19/22, 2:29 PM                                     Facebook
            Case 2:18-cv-09873-CCC Document 36-1 Filed 07/19/22 Page 7 of 7 PageID: 2571


                                                                                                       ■ ■ ■




    Here is the zoom link
    ... See more


     · - 00 4
                    ■                                                                              ■
                                                                                                               1 Share

                          Like                                ■ Comment                                Share


                        See more of The Ultimate Alibi on Facebook
                                         Log ln                       or          Create new account


ht1ps://www.facebook.com/theultimatealibi/photosla.788021291540009/1643528475989282                                      1/1
